Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 1 of 17 PageID #: 1297



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------X

  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, GEICO INDEMNITY COMPANY,
                                                   MEMORANDUM AND ORDER
  GEICO GENERAL INSURANCE COMPANY, and
  GEICO CASUALTY COMPANY,
                                                   12-CV-2157 (KAM) (VMS)

                         Plaintiffs,

        -against-

  LI-ELLE SERVICE, INC., JOHN DOES 1-5,

                         Defendants.

  -------------------------------------X
  MATSUMOTO, United States District Judge:

              Presently before the court is a renewed motion for

  default judgment filed by Government Employees Insurance

  Company, GEICO Indemnity Company, GEICO General Insurance

  Company, and GEICO Casualty Company (“plaintiffs” or “GEICO”),

  seeking a declaration that plaintiffs are not legally obligated

  to pay outstanding fraudulent claims submitted by defendant Li-

  Elle Service, Inc. (“Li-Elle” or “defendant”).          On March 21,

  2013, defendant was properly served with plaintiffs’ renewed

  motion for declaratory judgment at the address on record with

  New York’s Secretary of State, but the motion was returned as

  undeliverable.     In addition, Li-Elle’s default in this action

  was previously noted by the Clerk of Court on August 6, 2012.

  Therefore, the court considers the motion fully briefed and, for
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 2 of 17 PageID #: 1298



  the reasons set forth below, plaintiffs’ motion for declaratory

  relief is granted.

                                  BACKGROUND

     I.    The Instant Action

              On May 18, 2012, plaintiffs filed the instant action

  alleging that defendants were involved in schemes to submit

  fraudulent claims seeking payment for durable medical equipment

  (“DME”) and orthotic devices purportedly provided to individuals

  eligible for insurance coverage under GEICO insurance policies.

  (See generally Compl., ECF No. 1.)        On June 21, 2012, plaintiffs

  filed an amended complaint against Li-Elle and five unnamed

  owners of Li-Elle.     (Am. Compl. ¶ 1, ECF No. 4.)       In the amended

  complaint, plaintiffs raised claims of common law fraud and

  unjust enrichment for which they sought damages and a

  declaratory judgment pursuant to 28 U.S.C. §§ 2201 and 2202.

  (Am. Compl. ¶¶ 50-66.)      Plaintiffs specifically sought a

  declaratory judgment that they are not legally obligated to pay

  outstanding fraudulent claims submitted by Li-Elle.           (Am. Compl.

  ¶ 2.)

              Li-Elle failed to answer timely or otherwise respond

  to this action, and, as previously discussed, the Clerk of Court

  noted Li-Elle’s default on August 6, 2012.         (ECF No. 7.)     On

  August 29, 2012, the court referred plaintiffs’ motion to enter

  a default judgment to Magistrate Judge Vera M. Scanlon for a

                                       2
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 3 of 17 PageID #: 1299



  Report and Recommendation.       On February 11, 2013, Judge Scanlon

  issued her Report and Recommendation.          (”R&R,” ECF No. 15.)      In

  the R&R, Judge Scanlon recommended that the court enter judgment

  against Li-Elle on plaintiffs’ fraud and unjust enrichment

  claims in connection with the DME scheme.          Judge Scanlon further

  recommended that a declaratory judgment be entered providing

  that plaintiffs are not obligated to pay defendant’s outstanding

  claims because plaintiffs had alleged with sufficient

  particularity that the outstanding claims made were fraudulent. 1

  (R&R at 14-19.)     No objections to Judge Scanlon’s Report and

  Recommendation were filed by the parties after plaintiffs served

  the R&R on Li-Elle at the corporation’s last known address.

              Upon review of the record and the Report and

  Recommendation, on March 6, 2013, the court adopted Judge

  Scanlon’s R&R in all respects except for the calculation of

  plaintiffs’ interest award, and the recommendation that

  plaintiffs’ request for declaratory relief be granted.             (“Order

  Adopting R&R” at 3, ECF No. 16.)          Specifically, the court

  adopted Judge Scanlon’s findings that Li-Elle was liable to

  plaintiffs for fraud and unjust enrichment and found that

  judgment should be entered against Li-Elle in the amount of

  $262,213.04 in compensatory damages; $100,347.47 in prejudgment

  1
    On a motion for default judgment, a defendant’s failure to respond
  constitutes an admission of the well-pleaded allegations in the complaint.
  See, e.g., Greyhound Exhibitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d
  155, 158 (2d Cir. 1992).

                                        3
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 4 of 17 PageID #: 1300



  interest, plus $64.65 per day in interest between March 6, 2013

  and the date of entry of judgment.        (Order Adopting R&R at 8.)

              With respect to plaintiffs’ request for a declaratory

  judgment that plaintiffs are not obligated to pay defendant’s

  outstanding claims, the court denied the motion without

  prejudice to renew.      (Order Adopting R&R at 8).      In denying

  plaintiffs’ motion without prejudice, the court concurred with

  Judge Scanlon’s analysis regarding the fraudulent nature of Li-

  Elle’s outstanding claims but noted its concern over “a danger

  that the issuance of a declaratory judgment by this court would

  ‘encroach on the domain’ of the New York state courts, and aid

  the federal plaintiffs in a ‘race to res judicata.’”           (Order

  Adopting R&R at 7 (quoting Chevron Corp. v. Camacho Naranjo, 667

  F.3d 232, 245 (2d Cir. 2012)).)        The court thereafter permitted

  plaintiffs to file supplemental materials in support of a

  renewed motion for entry of declaratory judgment which addressed

  the court’s concerns about encroaching on the domain of the New

  York state courts.     (Order of Mar. 13, 2013.)

              On March 28, 2013, plaintiffs submitted a supplemental

  memorandum of law in support of their motion for a declaratory

  judgment against Li-Elle.       (Pls. Supp. Mem. of Law (“Pls. Mem.”)

  at 1, ECF No. 21.)     On March 3, 2014, plaintiffs also provided

  the court with supplemental authority in support of its motion.

  (ECF No. 23.)

                                       4
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 5 of 17 PageID #: 1301



     II.   The New York State Actions

              As part of their supplemental submission to the court,

  plaintiffs have provided the court with a declaration from

  Jennifer Fogarty, an employee of GEICO.         (“Fogarty Supp. Decl.,”

  ECF No. 22.)    Fogarty states that, after a review of GEICO’s

  records, she has identified unpaid claims actively in dispute

  between Li-Elle and GEICO totaling $130,457.47.          (Forgarty Supp.

  Decl. ¶ 8.)    Fogarty’s review also indicates that Li-Elle has

  initiated ninety-seven lawsuits in New York City Civil Court

  to recover a total of $94,278.09.        (Fogarty Supp. Decl. ¶¶ 7-8.)

  GEICO’s records further indicate that, at the time of Fogarty’s

  declaration, Li-Elle had not sued on the remaining $36,179.38 in

  unpaid claims.     (Fogarty Supp. Decl. ¶¶ 7-8.)

              Of the ninety-seven current lawsuits that Li-Elle

  currently has pending against GEICO, twelve are not scheduled

  for trial until either late 2014 or 2015. (Fogarty Supp. Decl.

  ¶ 9(i), Ex. C.)     Furthermore, eighty-two of Li-Elle’s pending

  collection lawsuits were filed in 2008 or 2009, but had not yet

  been tried at the time of Fogarty’s declaration.          (Fogarty Supp.

  Decl. ¶ 9(ii).)

                                  DISCUSSION

     I.    Declaratory Judgment

              Pursuant to the Declaratory Judgment Act, “any court

  of the United States, upon the filing of an appropriate

                                       5
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 6 of 17 PageID #: 1302



  pleading, may declare the rights and other legal relations of

  any interested party seeking such declaration, whether or not

  further relief is or could be sought”.         28 U.S.C. § 2201.     “The

  DJA ‘is an enabling Act, which confers a discretion on the

  courts rather than an absolute right upon the litigant.            The

  propriety of issuing a declaratory judgment may depend upon

  equitable considerations, and is also informed by the teachings

  and experience concerning the functions and extent of federal

  judicial power.’”     Niagara Mohawk Power Corp. v. Hudson River-

  Black River Regulating Dist., 673 F.3d 84, 106 n.7 (2d Cir.

  2012) (quoting Green v. Mansour, 474 U.S. 64, 72 (1985)).            The

  Supreme Court has cautioned, however, that abstaining from

  adjudicating a declaratory judgment, and abstention in general,

  “is the exception, not the rule. . . . ‘Abdication of the

  obligation to decide cases can be justified under this doctrine

  only in the exceptional circumstances where the order to the

  parties to repair to the state court would clearly serve an

  important countervailing interest.’”        Colo. River Water

  Conservation Dist. v. United States, 424 U.S. 800, 813 (1976)

  (quoting Cnty. of Allegheny v. Frank Mashuda Co., 360 U.S. 185,

  188-89 (1959)); see also Vill. of Westfield v. Welch’s, 170 F.3d

  116, 120 (2d Cir. 1999) (“Because [abstention] is an exception

  to a court’s normal duty to adjudicate a controversy properly

  before it, the district court’s discretion must be exercised

                                       6
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 7 of 17 PageID #: 1303



  within the narrow and specific limits prescribed by the

  particular abstention doctrine involved.” (citation omitted)).

              Therefore, the first question before the court is

  whether or not the court should abstain from adjudicating

  plaintiffs’ motion for declaratory relief.          For the reasons set

  forth below, the court declines to abstain from granting the

  declaratory relief sought by plaintiffs in this case.

     II.   Colorado River Abstention Analysis

              The applicable test for whether abstention is

  appropriate was articulated by the Supreme Court in Colorado

  River, 424 U.S. 800 (1976). 2      Id. at 817 (noting that the case’s

  abstention standard applies to “situations involving the

  contemporaneous exercise of concurrent jurisdictions, either by

  federal courts or by state and federal courts”); see also Vill.

  of Westfield, 170 F.3d at 125 n.5 (noting that Colorado River

  applies in cases involving parallel state court proceedings

  where the plaintiff sought both declaratory relief and money

  damages);    Gov’t Emps. Ins. Co. v. Five Boro Psychological


  2
    As plaintiffs correctly note, another abstention doctrine related to
  requests for declaratory relief, known as Brillhart-Wilton abstention after
  the Supreme Court’s decisions in Brillhart v. Excess Insurance Co. of
  America, 316 U.S. 491 (1942) and Wilton v. Seven Falls Co., 515 U.S. 277
  (1995), is not applicable in this case. The Brillhart-Wilton test is
  applicable where a party seeks declaratory relief only. Niagara Mohawk, 673
  F.3d at 106 (“Wilton does not apply where, as here, a plaintiff does not seek
  purely declaratory relief, but also . . . seeks damages caused by the
  [defendant’s] conduct.”) (internal quotation marks and citations omitted;
  alteration in original); see also Kanciper v. Suffolk Cnty. Soc. for the
  Prevention of Cruelty to Animals, Inc., 722 F.3d 88, 93 (2d Cir. 2013)
  (same).

                                        7
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 8 of 17 PageID #: 1304



  Servs., 939 F. Supp. 2d 208, 216 (E.D.N.Y. 2013) (applying the

  Colorado River test in an insurance fraud case factually

  analogous to the instant matter).

              Pursuant to the Colorado River abstention doctrine, a

  district court may stay or dismiss a party’s claims only where

  “(1) the relevant state and federal actions are ‘concurrent’ or

  ‘parallel’ and (2) evaluation of a six-factor test weighs in

  favor of abstention.”      DDR Constr. Servs. Inc. v. Siemens

  Indus., Inc., 770 F. Supp. 2d 627, 644 (S.D.N.Y. 2011) (citing

  Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,

  16 (1983)). “These six factors include: (1) the assumption of

  jurisdiction by either court over any res or property; (2) the

  inconvenience of the federal forum; (3) the avoidance of

  piecemeal litigation; (4) the order in which jurisdiction was

  obtained; (5) whether state or federal law supplies the rule of

  decision; and (6) whether the state court proceeding will

  adequately protect the rights of the party seeking to invoke

  federal jurisdiction.”      Vill. of Westfield, 170 F.3d at 121.

  The court’s task in engaging in the Colorado River test “is not

  to find some substantial reason for the exercise of federal

  jurisdiction by the district court; rather, the task is to

  ascertain whether there exist “exceptional” circumstances, the

  “clearest of justifications,” that can suffice under Colorado



                                       8
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 9 of 17 PageID #: 1305



  River to justify the surrender of that jurisdiction.”           Moses

  Cone, 460 U.S. at 25-26, (emphasis in original).

              The court finds that the instant case and Li-Elle’s

  state collection proceedings are not parallel and that, even if

  the federal and state actions were parallel, abstention would

  not be warranted under the Colorado River six-factor test.

           a. Whether the Instant Case and the State Collection
              Cases Are Parallel

              The threshold question in determining whether a

  federal court should abstain from adjudication under Colorado

  River is whether the state court proceedings are “parallel.”

  Dittmer v. Cnty. of Suffolk, 146 F.3d 113, 118 (2d Cir. 1998)

  (“[A] finding that the concurrent proceedings are ‘parallel’ is

  a necessary prerequisite to abstention under Colorado River.”).

  In determining whether two actions are parallel for purposes of

  Colorado River abstention, “a court may consider whether the

  actions involve the same (i) parties, (ii) subject matter, and

  (iii) relief requested.”      Hous. Works, Inc. v. City of New York,

  72 F. Supp. 2d 402, 417 (S.D.N.Y. 1999) (citing Sheerbonnet Ltd.

  V. Am. Exp. Bank Ltd., 17 F.3d 36, 49-50 (2d Cir. 1994)).

  “Complete identity of parties and claims is not required; the

  parallel litigation requirement is satisfied when the main issue

  in the case is the subject of already pending litigation.”            GBA

  Contracting Corp. v. Fid & Deposit Co., No. 00-CV-1333, 2001 WL


                                       9
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 10 of 17 PageID #: 1306



   11060, at *1 (S.D.N.Y. Jan. 3, 2001).        There must, however, be

   “a substantial likelihood that the state litigation will dispose

   of all claims presented in the federal case.”         Allstate Ins. Co.

   v. Elzanaty, 916 F. Supp. 2d 273, 287 (E.D.N.Y. 2013) (citing In

   re Comverse Tech., Inc., No. 06-CV-1849, 2006 WL 3193709, at *2

   (E.D.N.Y. Nov. 2, 2006)) (emphasis in the original).

              In light of these principles, the court concurs with

   plaintiffs’ contention that the instant case and Li-Elle’s state

   court cases are not parallel under factors discussed in Dittmer.

   First, the identities of the parties, the GEICO entities and Li-

   Elle, are the same.     (See Fogarty Supp. Decl. Ex. C (listing

   pending state court collection cases).)        Second, the subject

   matter of the cases is virtually the same; Li-Elle’s civil

   actions for payment in the state court proceedings are the same

   that were found to be fraudulent by this court.          (See R&R at 18-

   19; Am. Compl. ¶¶ 50-53.)      Third, the relief requested in the

   federal and state actions is, however, distinct.          As plaintiffs

   note, Li-Elle’s actions in state court will not dispose of

   plaintiffs’ common law fraud claim, unjust enrichment claim, and

   declaratory judgment claim.      Based on the distinct relief sought

   in the state and federal actions, the actions are not parallel.

   But see Five Boro Psychological Servs., 939 F. Supp. 2d at 216

   (finding that a federal case regarding fraudulent insurance

   billing and state collection proceedings present an “example of

                                       10
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 11 of 17 PageID #: 1307



   parallel litigation in state and federal court.”).          Because the

   state actions and the instant case are not parallel, the court

   will not abstain from ruling on plaintiffs’ renewed motion for

   declaratory judgment.     See, e.g., Wells Fargo Bank, Nat’l Ass’n

   v. Kokolis, No. 12-CV-2433, 2013 WL 789448, at *5 (holding that

   abstention was inappropriate where there was no parallelism

   between the state and federal actions).

           b. Under the Six-Factor Colorado River Test, Abstention
              is Not Warranted

              Even if the court were to find that the actions are

   parallel, the six Colorado River factors either militate against

   or are neutral as to abstaining in this action.          To determine

   whether abstention under Colorado River is appropriate, a

   district court is required to weigh six factors, “with the

   balance heavily weighted in favor of the exercise of

   jurisdiction.”    Moses H. Cone Mem’l Hosp., 460 U.S. at 16.

   “[A]lthough the test for Colorado River abstention is no

   ‘mechanical checklist,’ the district court must balance the

   relevant factors in reaching its decision.”         Vill. of Westfield,

   170 F.3d at 121 (emphasis in original) (citation omitted).

   Consideration of each factor is set forth below.

                i. Factors One and Two: Jurisdiction Over a Res and
                   Inconvenience of the Federal Forum

              The present case involves neither a res over which the

   court has exercised jurisdiction, nor an inconvenient federal

                                       11
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 12 of 17 PageID #: 1308



   forum. 4   Therefore, the first two Colorado River factors weigh

   against abstention.      See Woodford v. Cmty. Action Agency of

   Greene Cnty., Inc., 239 F.3d 517, 523 (2d Cir. 2001) (“[T]he

   absence of a res and the equivalent convenience of the federal

   forum are factors that favor retention of jurisdiction [by the

   federal court].”); accord Remigio v. Kelly, No. 04-CV-1877, 2005

   WL 1950138, at *13-14 (S.D.N.Y. Aug. 12, 2005); Wells Fargo

   Century, Inc. v. Hanakis, No. 04-CV-1381, 2005 WL 1523788, at

   *10 (E.D.N.Y. June 28, 2005).

                ii. Factor Three: Avoidance of Piecemeal Litigation

               The third factor, avoidance of piecemeal litigation,

   also militates against abstention.         As discussed previously,

   adjudication of Li-Elle’s claims against GEICO are ongoing in

   ninety-seven distinct state court lawsuits.           (See Fogarty Supp.

   Decl. ¶ 8.)    In light of the judgment in this case that

   defendant is liable to plaintiffs for fraud and unjust

   enrichment based on its billing practices, it would be highly

   inefficient and duplicative for plaintiffs to continue to

   litigate defendant’s entitlement to payment in so many cases.

   Several courts confronted with similar fraudulent insurance

   billing schemes and parallel state court collection cases have

   emphasized the importance of this factor in not abstaining.               See



   4
     The state cases are being litigated in New York City Civil Court.   (Fogerty
   Supp. Decl. ¶ 8.)

                                         12
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 13 of 17 PageID #: 1309



   Five Boro Psychological Servs., 939 F. Supp. 2d at 216 n.8

   (“[Plaintiff] alleges a systematic, institutionalized fraudulent

   scheme designed to produce thousands of individual fraudulent

   no-fault claims.     I reject the suggestion that such a defense is

   better raised and resolved (potentially in conflicting ways) in

   every one of literally hundreds of small-dollar cases pending in

   numerous different state courts, rather than in a single case

   like this one.”); State Farm Mut. Auto. Ins. Co. v. James M.

   Liguori, M.D., P.C., 589 F. Supp. 2d 221, 239 (E.D.N.Y. 2008)

   (“[T]he third factor argues against abstention in that the

   actions defendants have brought against plaintiff in state court

   appear to be individual litigations of claims to determine the

   medical necessity of the tests and consultations performed

   and/or billed.    A declaratory judgment in this case might

   prevent the need for resolution of the pending individual

   cases.”).    The third Colorado River factor thus weighs heavily

   against abstaining in this case.

               iii. Factor Four: Order of Case Filing

               The fact that most of the state court actions appear

   to have been filed prior to the instant case (see Fogarty Supp.

   Decl. ¶ 9(ii)) would, at first, appear to weigh in favor of

   abstention.    The Supreme Court, however, has emphasized that,

   for the purposes of the abstention analysis, “priority should

   not be measured exclusively by which complaint was filed first,

                                       13
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 14 of 17 PageID #: 1310



   rather in terms of how much progress has been made in the . . .

   actions.”   Moses H. Cone Mem’l Hosp., 460 U.S. at 21; see also

   Woodford, 239 F.3d at 524-25 (discussing the fourth Colorado

   River factor in terms of the progress made in the respective

   lawsuits and holding that district courts must consider the

   relative progress of both the state and federal cases).

   According to plaintiffs’ records, the vast majority of the

   pending state court cases do not have trial dates.          (Fogarty

   Supp. Decl. Ex. C.)     Of those cases that do have scheduled trial

   dates, most of those dates are in late 2014 or in 2015.           By

   contrast, the instant matter has been fully litigated and,

   absent resolution of the declaratory judgment issue, judgment is

   ready to be entered on all claims in this case.          For that

   reason, the fourth Colorado River factor also counsels against

   abstention.

               iv. Factor Five: Complexity of State Law at Issue

               The fifth factor also weighs against abstaining in the

   instant case.    “[B]ecause all diversity suits raise issues of

   state law, their presence does not weigh heavily in favor of

   surrender of jurisdiction.”      Steinberg v. Nationwide Mut. Ins.

   Co., 418 F. Supp. 2d 215, 225 (E.D.N.Y. 2006) (quoting

   Arkwright-Boston Mfrs. Mut. Ins. Co. v. City of New York, 762

   F.2d 205, 211 (2d Cir. 1985)).       “Although the presence of

   federal issues strongly advises exercising federal jurisdiction,

                                       14
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 15 of 17 PageID #: 1311



   the absence of federal issues does not strongly advise

   dismissal, unless the state law issues are novel or particularly

   complex.”   Vill. of Westfield, 170 F.3d at 124; see also Liguori

   589 F. Supp. 2d at 240 (finding similar claims to those in the

   instant case to be “not particularly complex”).          In the instant

   action, the underlying state-law claims asserted by GEICO are

   common law claims of fraud and unjust enrichment and are not

   particularly novel or complex.       Accordingly, the court finds

   that the fifth factor under Colorado River does not militate in

   favor of abstention.

                v. Factor Six: Protection of Plaintiffs’ Rights in
                   the State Forum

               The sixth Colorado River factor is whether the state

   court proceeding will adequately protect the right the

   plaintiffs are seeking to vindicate in the federal lawsuit.

   Specifically, the court must determine whether “the parallel

   state-court litigation will be an adequate vehicle for the

   complete and prompt resolution of the issues between the

   parties.”   Moses H. Cone, 460 U.S. at 28.        While the court has

   no doubt that the New York City Civil Court would adequately and

   fairly protect plaintiffs’ rights, the sheer number of state

   court actions initiated by Li-Elle and their progress in state

   court indicates that plaintiffs are unlikely to have their




                                       15
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 16 of 17 PageID #: 1312



   claims resolved promptly.      For that reason, the last Colorado

   River factor also weighs against abstention.

               vi. Other Considerations

              Finally the court notes, as it did in its order

   adopting the R&R, that the Second Circuit has also considered in

   evaluating the appropriateness of abstention “whether the

   proposed remedy is being used merely for ‘procedural fencing’ or

   a ‘race to res judicata.’”      Chevron Corp., 667 F.3d at 245.

   Plaintiffs have presented detailed briefing to demonstrate that

   such concerns are not significant in this case.          This court

   adopted Judge Scanlon’s findings that defendant engaged in

   fraudulent billing and that defendant’s non-appearance in this

   case indicates willful action on its part.         (See generally Order

   Adopting R&R; R&R at 7, 18-19.)       There is no indication that

   plaintiffs are attempting to manipulate the outcome of the state

   court cases by their request for declaratory judgment.           In sum,

   this case does not present the “exceptional circumstances” in

   which abstention is appropriate.         Colo. River, 424 U.S. at 813;

   see also Gov’t Emps. Ins. Co. v. AMD Chiropractic, P.C., No. 12-

   CV-4295, 2013 WL 5131057 (E.D.N.Y. Sept. 12, 2013); Allstate

   Ins. Co. v. Smirnov, No. 12-CV-1246, 2013 WL 5407224 (E.D.N.Y.

   Aug. 21, 2013); Five Boro Psychological Servs., 939 F. Supp. 2d

   208 (all granting declaratory relief in factually similar

   fraudulent insurance billing cases).

                                       16
Case 1:12-cv-02157-KAM-VMS Document 24 Filed 03/21/14 Page 17 of 17 PageID #: 1313



                                   CONCLUSION

               Because the Colorado River six-factor test counsels

   against abstaining from adjudicating plaintiffs’ motion for a

   declaratory judgment, the court grants plaintiffs’ motion for

   declaratory judgment that plaintiffs are not liable to Li-Elle

   for the claims sought by Li-Elle in the state court actions and

   identified in the supplemental Fogarty Declaration.          Upon

   plaintiffs’ submission by March 31, 2014 of a proposed updated

   judgment, with calculations of damages for fraud and unjust

   enrichment, and interest provided by law, and upon the court’s

   review of that proposed judgment, the Clerk of Court will be

   directed to enter judgment in favor of plaintiffs on their

   declaratory judgment, common law fraud, and unjust enrichment

   claims.   Plaintiffs shall serve a copy of this Memorandum and

   Order on defendant and file a declaration of service by March

   24, 2014.


               SO ORDERED.

   Dated:      Brooklyn, New York
               March 21, 2014

                                      ____________/s______________
                                      KIYO A. MATSUMOTO
                                      United States District Judge




                                       17
